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   4
       Entered on Docket
   5February 20, 2024
___________________________________________________________________
   6
   7      KEVIN A. DARBY, NVSB#7670
          TRICIA M. DARBY, NVSB#7956
   8
          DARBY LAW PRACTICE, LTD.
   9      499 W. Plumb Lane, Suite 202
          Reno, Nevada 89509
  10      Telephone: (775) 322-1237
  11      Facsimile: (775) 996-7290
          E-mail: kevin@darbylawpractice.com
  12      Counsel for Reorganized Debtor
  13
  14                                 UNITED STATES BANKRUPTCY COURT

  15                                           DISTRICT OF NEVADA
  16      In re:                                              CASE NO.: BK-21-50431-mkn
  17                                                          Chapter 11
          ENCORE AUDIO VISUAL DESIGN, LLC,
  18                                                          CONDITIONAL ORDER ON THE STATE
                                       Debtor.                OF NEVADA’S MOTION TO CONVERT
  19
                                                              TO CHAPTER 7
  20
                                                              Hearing Date: February 7, 2024
  21                                                          Hearing Time: 9:30 a.m.
          ______________________________________/
  22
  23               Upon the State of Nevada, Ex. Rel.. Its Department of Taxation’s (“the State”) Motion To

  24     Convert Case to Chapter 7, filed herein on November 16, 2023 as Docket No. 156 (the “Motion”);

  25     and good cause appearing;

  26               IT IS HEREBY ORDERED that Encore Audio Visual Design, LLC (“Encore”) shall cure

  27     any and all then outstanding defaults on its payment obligation to the State under the Debtor’s

  28     confirmed Chapter 11 Subchapter V plan of reorganization by not later than 5:00 p.m. on Friday,




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 1   March 8, 2024.
 2          IT IS FURTHER ORDERED that, if Encore fails cure any and all then outstanding defaults
 3   on its payment obligation to the State under the Debtor’s confirmed Chapter 11 Subchapter V plan
 4   of reorganization by not later than 5:00 p.m. on Friday, March 8, 2024, the State may seek
 5   conversion of this case to Chapter 7 on shortened time.
 6          IT IS FURTHER ORDERED that, if Encore cures all then outstanding defaults on its
 7   payment obligation to the State under the Debtor’s confirmed Chapter 11 Subchapter V plan of
 8   reorganization by 5:00 p.m. on Friday, March 8, 2024, a status hearing on the State’s Motion shall
 9   be held on April 10, 2024 at 9:30 a.m.
10           IT IS SO ORDERED.
11                                                       ###
12
13   Submitted by:
14   DARBY LAW PRACTICE, LTD.

15      /s/ Kevin A. Darby
     _____________________________
16
     KEVIN A. DARBY, ESQ.
17   Attorneys for Encore Audio Visual Design, LLC

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 1         In accordance with LR 9021, an attorney submitting this document certifies as follows:

 2                   ___ The court has waived the requirement set forth in LR 9021(b)(1).
 3                   ___ No party appeared at the hearing or filed an objection to the motion.
 4
                     _X_ I have delivered a copy of this proposed order to all attorneys who appeared
 5                      at the hearing, and each has approved or disapproved the order, or failed to
                        respond, as indicated below:
 6
 7                       Approved by:

 8                       AARON D. FORD, Attorney General
 9                            /s/ Mary M. Huck
10                       By:__________________________
                            KAYLA D. DORAME, ESQ.
11                           MARY M. HUCK, ESQ.
                             Deputy Attorney General
12
13                   ___ I certify that this is a case under chapter 7 or 13, that I have served a copy of
                         this order with the motion pursuant to LR 9014(g), and that no party has
14                       objected to the form or content of the order.
15
     Submitted by:
16
17      /s/ Kevin A. Darby
     ______________________________
18   KEVIN A. DARBY, ESQ.
19   DARBY LAW PRACTICE, LTD.
     Attorneys for Debtor
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